
*916OPINION.
Phillips:
The first assignment of error was waived at the hearing.
There is no merit in the second error assigned. In January, 1926, and before the expiration of four years from the filing of petitioner’s returns for the year 1921, either tentative or final, petitioner and respondent executed a waiver which extended the time in which the taxes might be assessed to December 31, 1926. Before the expiration of that period respondent mailed his deficiency letter, and within 60 days after the mailing of that letter petitioner filed its petition with the Board.
The third assignment of error must be decided adversely to petitioner on the authority of Russel Wheel &amp; Foundry Co., 3 B. T. A. 1168.

Decision will he entered for the respondent.

